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                                    GENERAL LAWS.


                                CHAPTER XXXIV.

             AN ACT TO REGULATE TIE KEEPING AND             BEAIING. OF DEADLY
                                    WEAPONS.

                SECTION 1.     Be it enacted by the Legislature of the State of
              Texas, That any person carrying on or about his person, saddle, or
             in his saddle bags, any pistol, dirk, dagger, slung-shot, sword-cane,
             spear, brass-knuckle3, bo Nic-knife, or any other kind of knife manu-
             ficturcd or sold for the purposes of oensc or defense, unless he has
             reasonable grounds for fearing an unlawful attack on his person, and
             that such ground of attack shall be immediate and pressing; or
             unless having or carrying the same on or about his person for the
             lawful defense of the State, as a militiaman in actual 'service, or as
             a peace officer or policeman, shall be guilty of a misdemeanor, and,
             on conviction thereof shall, for the first offense, be punished by
             fine of not less than twenty-five nor more than one hundred dollats,
             and shAl foe'feit to the county the weapon or weapons so found on
             or alout his person ; and for every s.bThtqucnt offense may, in addi-
             tion to such fine and forfeiture, be in.prisoned in the county jail for
             a term not exceeding sixty days; and in every case of line under
             this section the fines imposed and collected shall go into the treasury
             of the county in which they may have been imposed ; ]rovided, that
             this section shall not be so coiistrucd as to prohibit any person from
             kee,ping or bearing arms on his or her own premises, or at his or
             her own place of business, nor to prohibit sheriffs or other revenue
             officers, and other civil officers, from keeping or bear:ng arms whilo
             engaged in the disclargo of their official duties, nor to prohibit per-
             sons traveling in the :tat from keeping or carrying arms with their
             baggage ; provided furthcr, that members of the Legislature shall
             not be included under the term "civil officers" as used ill this act.
                 SEC. 2. Any person charged under the first section of this act,
             who may offer to prove, by way of defense, that lie was in danger of
             an attack on his person, or unlawful interfbrence with his property,
             shall be required to show that such danger was immediate and press-
             ing, and was of such a nature as to alarm a person of ordinary
             courage; and that the weapon so carried was borne openly and not
             concealed beneath the clothing; and if it shall appear that this dan-
             ger had its origin in a difficulty first commenced by the accused, it
             shall not be considered as a legall defense.
                 Sisc. 3. If any person shall go into any church or religious
              assembly, any school room, or other place where persons are assem-
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          bled for amusement or for. educational or scientific purposes, or into
          any circus, show, or public exhibition of any kind, or into a ball
          room, social party, or social gathering, or to any eec.ion precinct
          on the day or days of any election, where any portion of the p ople
          of this State are collected to ote at any election, or to any other
          place wherepeople may be assembled to muster, or to perform any
          other public duty, (except as may be required or peimitte,1 by Law,)
          or to any other public assembly, and shall have or carry about his
          person a pistol or other firearm, dirk, dagger, slang shot, sword
          cane, spear, brass-knuckles, bowie-knife, or any other kind of knife
          manufactured and sold for tie purposes of offense and defense, unless
          an officer of the peace, he slall be guilty of a misdemeanor, and, on
          conviction thorco, shall, for the first offense, be punished by fine of
          not less than fifty, nor more than five hundic'l dollars, and shall for-
          feit to the county the weapon or weapons so found on his person;
          and for every subsequent offense may, in addition to such fine and
          forfeiture, be imprisoned in the county jail for a term nGt more than
          ninety days.
              S c. 4. This act shall not apply to, nor be enforced in any
          county of the State, which may be designated, in a proclamation of
          the Governor, as a frontier county, and li-blo to incursions of hostile
          Indian s.
              Sc. 5. All fines collect:d under the provisions of this act slall
          be paid into the treasury of tl.e county, and appropriated exclu-
           sively to the keeping in repair.and maintenance of public roads, and
          all weapons forfeited to the county under the provisions of this act
           shall be sold as may be prescribed by the county court, and the pro-
           ceeds appropriated to the same purpose.
              SEC. 6. It shall be the duty of all sheriffs, constables, marshals,
           and their deputies, and all policemen, and other peace officers, to ar-
          rest any person violating the first or third sections of this act, av,d
           to take such person immediately )efore a justice of tie peace of the
           county where the offense is committed, or before a mayor or recorder
           of the town or city in which the offense is committed, who shall in-
           vestigate and try the case without delay. On all such trials the ac-
           cused ishall have the rigit of a trial by jury, and of appeal to the
           district court; but, in case of appeal, the accused shall be re-
           quired to give bond with two or more good and sufficient sureties in a
           sum of nt less than one hundred nor more than two hundred dol-
           lars, if convicted under the first section and in a sum of not less
           than two hundred nor more than one thousand dollars, if convicted
           under the third section of this act; said bond to be payable to the
            State of Texas, and approved by the magistrate, and conditioned that
            the defendant will abide time judgment of the district court that may
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                                  GENERAL LAWS.
           be rendered in the case; and in case of forfeiture the proceedings
           thereon shall be its is or may be proscribed by law in similar cases;
           and all moneys collected on any b)nd or judgment upon the same,
           shall bo paid over and appropriated as provided in the iftli section
           of this act.
               SEC. 7. Any officer named in tie sixth section of this act who
           shall ro'ase or fail to arrest any person w'lom l1e is required to
           arrest by said section on his own information, or where knowledge
           is conveyed to him of any violation of the first or third sections of
           this act,. shll be dismissed firom his office on conviction inl the
           district court, on indictment or information, or by such other pro-
           ceedings or tribunal as nray be provided by law, and in addition,
           shall be fined in any sum not exceeding five hundred dollars, at
           the discretion or the court or jury.
               SEC. 8. That tle district court3 shall have concurrent jurisdic-
           tiou under this act, and it is hereby made the duty of the several
           judges of the (district courts of this State to give this act especially
           in charge to the grand juries orl their respective counties.
               SEC. 9. It is hereby made the duty of the Governor to publish
           this act throughout the State; and this act shall take eflect and be
            in force from and after the expiration of sixty days after its passage.
               Approved April '12, 1871.


                               CHIAPTER            XXXV.

            AN ACT TO AUTHORIZE THE COUNTY COURT OF ROfMITSON COUNTY
              TO LEVY AND COLLI.CT A SPECIAL TAX FOR TILE TERM OF TWO
              YEAILS TO BUILD A COURT HOUSE AND JAIL IN TIIE CITY OF CAL-
              VEIRT, THE COUNTY SEAT OF SAID COUNTY.

              SECTION   1.   Be it eacled by the Legislature of the State of
             Te.ras, That the County Court of lobel tson county be and the
            sae is hereby authorized to levy and collect, annually, for the term
            of two years, a special ad valwrem. tax upon all property, real, per-
            sonal and mixed, in said county, not to exceed oo half of' one per
            certum in addition to all general and special taxes now authorized to
            be levied and collected by law, which, tax shall be levied and col-
            lected the same as other taxes, ;nd shall be appropriated and paid
            out solely for the purpose of building a substantial court house and
            jail at Calvert, the county seat of Rober-son-county, Texas.
               SEC. 2. That this act shall take effect and be in force from and
            after its passage.
               Approved April 12, 1871.
